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 1   Katherine F. Parks, Esq. - State Bar No. 6227
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     Attorneys for Defendant
 5
     CHURCHILL COUNTY
 6
                                   UNITED STATES DISTRICT COURT
 7
 8                                       DISTRICT OF NEVADA

 9    MICHAEL ERWINE, an individual,                         CASE NO. 3:18-cv-00461-RCJ-WGC
10                                        Plaintiff,
11                                                           JOINT PRE-ENE STATUS REPORT
      vs.
12
      CHURCHILL COUNTY, a political subdivision
13    of the State of Nevada; and DOES 1 through 10
14    inclusive,

15                                       Defendants.
16
            COMES NOW Plaintiff, MICHAEL ERWINE, and Defendant, CHURCHILL
17
18   COUNTY, by and through their undersigned attorneys of record, and hereby submit their Joint

19   Pre-ENE Status Report as follows:
20
            Initial Disclosures:
21
            In accordance with FRCP 26(f), both parties have exchanged their Initial Disclosures.
22
23          Pending Motions:

24          There are no pending motions at this time.
25          Calculation of Damages:
26
            Plaintiff has provided a calculation of damages to the Defendants.
27
     ///
28



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     Case 3:18-cv-00461-RCJ-WGC Document 20 Filed 01/24/19 Page 2 of 3



             Attendees:
 1
 2           Mr. Erwine and Mr. Guinasso will be in attendance. Attending on behalf of the

 3   Defendants will be Churchill County Chief Civil Deputy District Attorney Ben Shawcroft,
 4
     Jasmine Sanchez on behalf of Churchill County’s insurance carrier and Katherine Parks.
 5
      DATED: This 24th day of January, 2019.        DATED: This 24th day of January, 2019.
 6
 7    HUTCHISON & STEFFEN, PLLC                     THORNDAL ARMSTRONG
                                                    DELK BALKENBUSH & EISINGER
 8
 9    By:      /s/ Jason Guinasso                   By:       /s/ Katherine Parks
10          Jason D. Guinasso, Esq.                       Katherine F. Parks, Esq.
            500 Damonte Ranch Parkway, Ste 980            State Bar No. 6227
11          Reno, Nevada 89521                            6590 S. McCarran Blvd., Suite B
            Attorneys for Plaintiff                       Reno, Nevada 89509
12          MICHAEL ERWINE                                Attorneys for Defendant
13                                                        CHURCHILL COUNTY

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     Case 3:18-cv-00461-RCJ-WGC Document 20 Filed 01/24/19 Page 3 of 3



                                       CERTIFICATE OF SERVICE
 1
 2          Pursuant to FRCP 5(b), I certify that I am an employee of THORNDAL ARMSTRONG DELK

 3   BALKENBUSH & EISINGER, and that on this date I caused the foregoing JOINT PRE-ENE
 4
     STATUS REPORT to be served on all parties to this action by:
 5
            placing an original or true copy thereof in a sealed, postage prepaid, envelope in the
 6
 7                  United States mail at Reno, Nevada.

 8     ✓    United States District Court, District of Nevada CM/ ECF (Electronic Case Filing)
 9
     _____ personal delivery
10
     ____   facsimile (fax)
11
12   _____ Federal Express/UPS or other overnight delivery

13   fully addressed as follows:
14                                        Jason D. Guinasso, Esq.
15                                      Hutchison & Steffen, PLLC
                                   500 Damonte Ranch Parkway, Suite 980
16                                            Reno, NV 89521
                                            Attorney for Plaintiff
17
18          DATED this 24th day of January, 2019.

19                                                 / s / Sam Baker
                                                  An employee of THORNDAL ARMSTRONG
20                                                DELK BALKENBUSH & EISINGER
21
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